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     Todd M. Friedman (SBN 216752)
1    tfriedman@toddflaw.com
     Adrian R. Bacon (SBN 280332)
2
     abacon@toddflaw.com
3
     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
     21550 Oxnard St., Suite 780
4
     Woodland Hills, CA 91367
     Telephone: (323) 306-4234
5    Facsimile: (866) 633-0228
6    Attorneys for Plaintiff
7
                        UNITED STATES DISTRICT COURT
8                      CENTRAL DISTRICT OF CALIFORNIA
9
                                             )        Case No.
10                                           )
         MELISSA MEYER, individually )
11
        and on behalf of all others similarl )            2:20-cv-02140-FMO-JPR
12      situated,                            )
13
        Plaintiffs,                          )        JOINT STIPULATION OF
        v.                                   )        DISMISSAL OF ACTION OF THE
14      DIRECT RECOVERY SERVICES )                    INDIVIDUAL CLAIMS
15      LLC, a Corporation; DOES 1-10        )        WITH PREJUDICE AND THE
        Inclusive,                           )        PUTATIVE CLASS CLAIMS
16
        Defendant                            )        WITHOUT PREJUDICE
17                                           )
18                                           )
                                             )
19
                                             )
20

21   NOW COME THE PARTIES by and through their attorneys to respectfully move
22   this Honorable Court to dismiss this matter with prejudice as to Plaintiff’s
23   individual claims and without prejudice as to the putative Class pursuant to
24   Federal Rules of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own
25   costs and attorney fees. A proposed order has been concurrently submitted to
26   this Court via email.
27

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                                       Stipulation to Dismiss- 1
     Case 2:20-cv-02140-SB-JPR Document 24 Filed 04/23/21 Page 2 of 3 Page ID #:88




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5          Respectfully submitted this 23rd Day of April, 2021,
6
                                  LAW OFFICES OF TODD M. FRIEDMAN P.C
7                                       By: s/Todd M. Friedman
8                                          TODD M. FRIEDMAN Esq.
                                            Attorney for Plaintiff
9

10                                              By: /s/ David J. Kaminski, Esq.
11
                                                     David J. Kaminski, Esq.
                                                    Attorneys for Defendant
12

13                                  Signature Certification
14          Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
15
      Policies and Procedures Manual, I hereby certify that the content of this
16
      document is acceptable to counsel for Defendant and that I have obtained their
17
      authorization to affix their electronic signature to this document.
18

19   Dated: April 23, 2021 LAW OFFICES OF TODD M. FRIEDMAN, P.C.
20

21
                                    By: _s/ Todd M. Friedman
                                        Todd M. Friedman ESQ.
22
                                          Attorney for Plaintiff
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                                       Stipulation to Dismiss- 2
     Case 2:20-cv-02140-SB-JPR Document 24 Filed 04/23/21 Page 3 of 3 Page ID #:89




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     Filed electronically on this 23rd Day of April, 2021, with:
6

7
     Notification sent electronically via the Court’s ECF system to:

8    Honorable Judge of the Court
9    United States District Court
10
     All Counsel of Record as Recorded On The Electronic Service List.
11

12   This 23rd Day of April, 2021.
     s/Todd M. Friedman
13
     TODD M. FRIEDMAN
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                                      Stipulation to Dismiss- 3
